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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    UNITED STATES OF AMERICA,         )       No. CV-F-02-5814 OWW
                                       )       (No. CR-F-97-5129 OWW)
10                                     )
                                       )
11                   Plaintiff/        )       ORDER GRANTING PETITIONER’S
                     Respondent,       )       MOTION PURSUANT TO RULE
12                                     )       60(b), FEDERAL RULES OF
                                       )       CIVIL PROCEDURE, TO VACATE
13             vs.                     )       ORDER DENYING PETITIONER’S
                                       )       SECTION 2255 MOTION AS TIME-
14                                     )       BARRED
     LAWRENCE ROBINSON,                )
15                                     )
                                       )
16                   Defendant/        )
                     Petitioner.       )
17                                     )
                                       )
18
          By Order filed on September 6, 2006, Petitioner’s motion to
19
     vacate, set aside or correct sentence pursuant to 28 U.S.C. §
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     2255 was dismissed as untimely.       Petitioner appealed the
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     dismissal to the Ninth Circuit.       During the pendency of that
22
     appeal, Petitioner filed a motion to vacate the September 6, 2006
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     Order pursuant to Rule 60(b), Federal Rules of Civil Procedure.
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     By Order filed on March 1, 2007, this Court deemed Petitioner’s
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     motion to be a motion requesting the Court to entertain his Rule
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1    60(b) motion, granted Petitioner’s deemed request, and directed

2    Petitioner to move the Ninth Circuit for a remand of his pending

3    appeal.    By Order filed on June 1, 2007, the Ninth Circuit

4    granted Petitioner’s motion for a limited remand to resolve

5    Petitioner’s Rule 60(b) motion on its merits.

6         Petitioner was convicted by jury trial.         He was sentenced on

7    May 11, 1999 pursuant to an Amended Judgment (Doc. 206).

8    Petitioner appealed his conviction and sentence to the Ninth

9    Circuit.   On March 31, 2000, the Ninth Circuit affirmed in part,

10   reversed in part, and remanded the matter to the district court.

11   On October 23, 2000, Petitioner was re-sentenced pursuant to the

12   Ninth Circuit remand.    Petitioner again appealed to the Ninth

13   Circuit.   On June 21, 2001, the Ninth Circuit affirmed and the

14   mandate was issued on July 19, 2001.       On October 9, 2001,

15   Petitioner filed a motion for a six-month extension of time to

16   file a Section 2255 motion, which request was granted by Order

17   filed on October 22, 2001.     Petitioner filed his Section 2255

18   motion on July 8, 2002.

19        Petitioner correctly contends that the September 6, 2006

20   Order erred in concluding that the one-year limitation period

21   running from “the date on which the judgment of conviction became

22   final” was set to expire on October 2, 2001.         In United States v.

23   Colvin, 204 F.3d 1221, 1225 (9th Cir. 2000), the Ninth Circuit

24   ruled that, in those cases in which the Ninth Circuit either

25   partially or wholly reverses a defendant’s conviction or

26   sentence, or both, and expressly remands to the district court,

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1                the judgment does not become final, and the
                 statute of limitations does not begin to run,
2                until the district court has entered an
                 amended judgment and the time for appealing
3                that judgment has passed.

4    Here, Petitioner appealed his resentencing following the Ninth

5    Circuit’s remand.        Because of this appeal, pursuant to United

6    States v. Garcia, 210 F.3d 1058 (9th Cir.2000), Petitioner’s

7    conviction became final for purposes of Section 2255's one-year

8    limitation period at the expiration of the 90-day period to

9    petition the United States Supreme Court for certiorari.             Because

10   the Section 2255 motion was filed on July 8, 2002, which was less

11   than one year after the Ninth Circuit affirmed the Amended

12   Judgment entered following the Ninth Circuit’s initial remand,

13   Petitioner’s Section 2255 motion is not time-barred.

14                                  CONCLUSION

15         For the reasons set forth above, Petitioner’s motion to

16   vacate the September 6, 2006 Order dismissing the motion to

17   vacate, set aside or correct sentence pursuant to 28 U.S.C. §

18   2255 is GRANTED.

19   IT IS SO ORDERED.

20   Dated:   June 12, 2007                  /s/ Oliver W. Wanger
     668554                             UNITED STATES DISTRICT JUDGE
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